AO 91 (Rev 8/01 iminat Complaint Fi

United States District Court

 

 

SOUTHERN DISTRICT OF TEXAS
McALLEN DIVISION
UNITED STATES OF AMERICA
V. CRIMINAL COMPLAINT
Lizandro Monroy-Bocanegra PRINCIPAL United States Case Number:

yor: 1908 M-19- (944

(Name and Address of Defendant)

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my

 

knowledge and belief. On or about August 7, 2019 in Starr County, in
the Southern District of Texas defendants(s) did,

(Track Statutory Language of Offense)

knowing or in reckless disregard of the fact that Mercedes Consuelo Arizandieta-Escobar and Carlos Marino
Escobar-Perez, both citizens and nationals of Guatemala, along with four (4) other undocumented aliens, for
a total of six (6), who had entered the United States in violation of law, did knowingly transport, or move, or
attempted to transport said aliens in furtherance of such violation of law within the United States, that i Is,
from a location near Roma, Texas to the point of arrest near Roma, Texas,

in violation of Title 8 United States Code, Section(s) 1324(a)(1}(A)(ii) FELONY
I further state that I am a(n) U.S. Border Patrol Agent and that this complaint is based on the
following facts:

On August 7, 2019, Rio Grande City Border Patrol Agents assisted Roma Police Department on a traffic stop that
possibly involved the transporting of illegal aliens. Roma Police Officers stated they received a call from a concerned
citizen who informed them that a white Ford had picked up several suspected illegal aliens at the dead end of Olvera
Street'in Roma, Texas. The Officer stated that he responded to the area and saw a white Ford matching the description
leaving the area the concerned citizen had provided. The Officer stated he followed the vehicle when suddenly the
driver drastically drove into the parking Jot of the gasoline station to avoid the traffic light and sped off at a high rate of

speed,

 

 

 

 

SEE ATTACHED
_ Continued on the attached sheet and made a part of this complaint: [x]Yes No
Rggroved Rush LALLA EARCIA 7 Ta
-_—
Signatufe of Complainant
Jorge A. Coria Border Patrol Agent
Sworn to before me and subscribed in my presence, Printed Name of Complainant
August 9,2019 — GH J3 5M, at McAllen, Texas
Date . UY City.and State
Juan F. Alanis , U. S. Magistrate Judge

  

 

 

Name and Title of Judicial Officer nature of Judicial Officer
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SOUTHERN DISTRICT OF TEXAS
McALLEN, TEXAS"

ATTACHMENT TO CRIMINAL COMPLAINT:

m-t9- [894 1

RE: Lizandro Monroy-Bocanegra

CONTINUATION:

The Officer informed the agents that he activated his emergency lights to conduct a traffic stop for
a traffic violation but the driver exited the vehicle and fled on foot while the vehicle was still in
motion. Subsequently, several subjects followed and ran from the vehicle. The officer stated that
they were able to secure the vehicle and encountered four subjects inside and that they were able to
detain two others in the area. The Officer suspected that the passengers were illegally present in the
United States and proceeded to request the assistance of Border Patrol.

Border Patrol Agents arrived to the scene to perform an immigration inspection, after a brief
interview, they determined the subjects did not possess any documents that would allow them to
remain legally in the United States.

Roma Police Officer continued to conduct an extensive search of the area in the attempt to locate
the driver of the vehicle. The Officer stated that Roma Police dispatch received a call from another
concerned citizen that a subject wearing a white shirt and khaki shorts was asking people for
assistance. Officers responded to the area since the description provided matched the description of
the subject that had eluded arrest earlier. Officers attempted to make contact with the subject, but
immediatelely led police officers in a foot pursuit. After a brief foot pursuit, the Officers
apprehended the subject and handed the subject over to Border Patrol since he was possibly the
driver of the white Ford.

Principal Statement
Lisandro Monroy-Bocanegra was read his miranda rights at the Rio Grande City Border Patrol
station and agreed to provide a statement.

Monroy-Bocanegra stated he was doing his thing on the streets of his neighborhood and he got
approached by the police. Monroy-Bocanegra advised he got scared and began running away from
police until he got apprehended. Monroy-Bocanegra stated he did have anything else to say.

Material Winess1 :
_ Mercedes Consuelo Arizandieta-Escobar, a national of Guatemala, was advised of her Miranda

Rights and agreed to provide a sworn statement.

Arizandieta-Escobar stated a friend made the smuggling arrangements for her to cross illegally into
the United States. Arizandieta-Escobar stated she paid $4000 and 15,000 quetzal upfront.

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SOUTHERN DISTRICT OF TEXAS
McALLEN, TEXAS

ATTACHMENT TO CRIMINAL COMPLAINT:

M-19- [ty M

RE:  . Lizandro Monroy-Bocanegra

CONTINUATION:

Arizandieta-Escobar stated that after the rafters crossed her into the United States they told her to
get into a white enclosed vehicle that was going to be waiting for her along the road. Arizandieta-
Escobar stated that as soon as the group reached the roadway an enclosed white truck was parked.
Arizandieta-Escobar stated that the driver told them to get in and lay down on the back
compartment. Arizandieta-Escobar advised that the vehicle drove off at a high rate of speed then
suddenly slowed down, and before the driver exited the vehicle he told them to run.

Arizandieta-Escobar identified Monroy, through a photo lineup, as the person who was driving the
white truck.

Material Witness 2
Carlos Marino Escobar-Perez, stated he was a national of Guatemala, he was advised of his
Miranda Rights and agreed to provide a sworn statement.

Escobar-Perez stated that today he illegally crossed the river into the United States and that the
subjects that were guiding the group told them to run to a white truck that would be waiting for
them along the street. Escobar-Perez stated the group ran towards the only white vehicle in the area
and the driver instructed them to get in and told them to lay in the back area. Escobar-Perez
advised that the driver received a phone call and advised him that the police was already behind
him. Escobar-Perez advised that the driver accelerated drastically then slowed down and before
exiting the vehicle told them to run. ,

Escobar-Perez identified Monroy, through a photo lineup, as the driver of the white vehicle.

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